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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


M.C. through her mother and next friend,
ERIN CHUDLEY;
S.W. through her mother and next friend
HELEN WHISLER; and G.A. through her
mother and next friend DEBORAH
ALTENHOFEN                                           Case No. ___________________

Plaintiffs,

                          v.

SHAWNEE MISSION UNIFIED SCHOOL
DISTRICT No. 512 (a/k/a the “SHAWNEE
MISSION SCHOOL DISTRICT”) and
KENNETH SOUTHWICK, in his individual
and official capacity as Interim
Superintendent of Shawnee Mission School
District.


Defendants.
                                             COMPLAINT


        Plaintiffs M.C., S.W., and G.A., by and through their undersigned counsel, parents and

next friends, allege as follows:


                                           INTRODUCTION
       1. This is an action for a declaratory judgment, injunctive relief, and damages brought

              about by the Shawnee Mission School District’s infringement of Plaintiffs’ First

              Amendment rights to speech and press during the April 20, 2018 national school

              walkouts, and its retaliation against students for the exercise of those same rights.




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2. All of the Plaintiffs in this action are students in the Shawnee Mission School District

     who attempted to either engage in political debate about the subject of gun violence by

     participating in a student-led, school-permitted walkout of April 20, 2018, or to

     document these same walkouts in their role as student journalists.

3.   Instead of allowing these students to exercise their First Amendment rights, however,

     the Shawnee Mission School District and its representatives unconstitutionally

     prohibited students from even mentioning the topic of gun violence in their protests.

     When students resisted the District’s efforts at censorship, District officials interrupted

     students, ordered them to stop speaking, threatened students with discipline and, in

     some cases, confiscated the tools that students were using to document the protests.

4. It is clear, from the District’s own official statements, that the decision to restrict

     students from using terms such as “gun violence,” or from even mentioning the topic

     of school shootings, stemmed from the District’s wish to avoid controversy and

     discomfort, and not out of any legitimate pedagogical interest, nor any particularized

     fear that use of these terms would materially and substantially disrupt the work and

     discipline of the school.

5. Although District officials including the interim superintendent, Defendant Kenneth

     (“Kenny”) Southwick, have issued repeated apologies for “anything that resulted in

     student censorship,” they have refused to acknowledge that their actions violated

     students’ rights. Southwick instead has begun an open-ended investigation to first and

     foremost evaluate, in his own words, “what it was that we did right.” In meetings with

     students after the fact, Southwick has appeared to be more interested in retroactively




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   justifying the District’s actions than in ensuring the future protection of students’ First

   Amendment rights.

6. Because of the direct injury to their First Amendment rights in connection with the

   protests, and because of the chilling effect that Defendants’ censorship has on

   students’ current and future speech, Plaintiffs are at risk of irreparable harm.

   Injunctive and declaratory relief is therefore necessary to prohibit ongoing and future

   violations of students’ First Amendment rights by Defendants.

7. On information and belief, the violation of Plaintiffs’ First Amendment rights occurred

   pursuant to an official policy or custom of the Shawnee Mission School District,

   implemented by its authorized policymakers, and from a failure to properly train

   employees or implement a policy protecting students’ First Amendment rights,

   meriting the imposition of municipal liability under 42 U.S.C. § 1983.

                            JURISDICTION AND VENUE
8. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1331, as to Plaintiff’s claims under 42 U.S.C. §1983 and the First and Fourteenth

   Amendments to the United States Constitution.

9. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

   §1367(a), as to Plaintiff’s claims under the Kansas Student Publications Act.

10. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because all of the

   events giving rise to the claims in this suit occurred in the District of Kansas.

                                       PARTIES

11. As discussed more fully herein, all of the Plaintiffs in this action are minors who

   participated in, attempted to participate in, or attempted to document the National

   School Walkout protests occurring on April 20, 2018.

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12. Defendant Shawnee Mission Unified School District No. 512 (“SMSD” or the

   “District”) is a public school district located in Johnson County, Kansas, established

   and existing under the laws of Kansas, and is the third-largest public school district in

   the state of Kansas.

13. SMSD is a “person” within the meaning of 42 U.S.C. §1983.

14. Defendant Kenneth Southwick is the interim Superintendent of and an employee of

   SMSD. At all relevant times, Defendant Southwick was acting under color of state

   law. He is sued in his individual and official capacities.

15. Plaintiff M.C. is an eighth-grade student enrolled in Hocker Grove Middle School

   within the Shawnee Mission School District. As a minor, Plaintiff brings this action

   through her mother and next friend Erin Chudley. Plaintiff M.C. and her mother

   reside in Johnson County, Kansas.

16. Plaintiff M.C. helped organize a walkout at Hocker Grove Middle School planned for

   April 20, 2018. Defendants informed Hocker Grove students such as M.C. and their

   parents that students would not be disciplined if they participated in the walkout.

17. During the walkout of April 20, 2018 at Hocker Grove Middle School, Plaintiff M.C.

   was one of several students who were interrupted and threatened with disciplinary

   action by an administrator during their speeches when they mentioned gun violence, as

   discussed in more detail infra.

18. M.C. was suspended for protesting the cancellation of the event and missed two

   examinations.




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19. As a result of being censored and disciplined, M.C. has also experienced distress and a

   justifiable apprehension of adverse consequences should she engage in First

   Amendment-protected conduct in the future.

20. Plaintiff S.W. is a junior enrolled in Shawnee Mission North High School within the

   Shawnee Mission School District. As a minor, S.W. brings this case through her

   mother and next friend Helen Whisler. Plaintiff and her mother reside in Johnson

   County, Kansas.

21. As discussed further infra, S.W. is a student journalist who was in attendance at the

   April 20, 2018 walkout at Shawnee Mission North High School. She was attempting

   to document the protests for the school newspaper and yearbook when a school official

   confiscated the camera she was using and ordered her to leave the scene of the protest,

   resulting in a direct prior restraint of, and retaliation for, her newsgathering activities.

22. As a result of Defendants’ actions, S.W. experienced not only distress but also a

   justifiable apprehension of adverse consequences should she engage in First-

   Amendment protected conduct in the future.

23. Plaintiff G.A. is a junior enrolled in Shawnee Mission North High School within the

   Shawnee Mission School District. As a minor, G.A. brings this case through her

   mother and next friend Deborah Altenhofen. Plaintiff and her mother reside in

   Johnson County, Kansas.

24. G.A. attended the event primarily as a protestor but also is a student journalist who

   works for the school newspaper, The Mission.

25. G.A. was denied the opportunity to hear the messages that students originally intended

   to express at the walkout and, because of Defendants’ actions, has experienced a



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   justifiable apprehension of adverse consequences at the District’s hands should she

   engage in First Amendment-protected conduct in the future.

                           FACTUAL BACKGROUND

26. Students across the country, including the named Plaintiffs in this action and their

   fellow students, organized a national walkout on April 20, 2018 to advocate for

   reforms to reduce gun violence in the wake of the tragic Parkland High School

   shootings in Florida.

27. The date of the protests was selected to coincide with the 19th anniversary of the

   Columbine High School Massacre, and was specifically for the purpose of demanding

   reforms intended to reduce the prevalence of gun deaths and school shootings in the

   United States.

28. It was, therefore, impossible to fully discuss the intended topic of the walkout without

   using words such as “guns” or “gun violence.”

29. Student organizers at various Shawnee Mission School District sites informed

   administrators well in advance of the protests that they intended to participate in the

   national walkout.

30. Defendants therefore had ample time to formulate a plan for addressing the protests

   that did not blatantly and systematically infringe on students’ First Amendment rights.

31. Defendants informed parents that students would be permitted to participate in the

   walkouts without risking discipline. However, Defendants made clear to parents and

   students at both schools that the walkouts were student-led and optional, and that the

   District was not sponsoring the event.




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32. Students were not necessarily informed in advance of the protests that there would be

   specific terms they had to avoid as a condition of being allowed to protest, or which

   had been deemed by the District to be unorthodox or too controversial to mention.

33. On information and belief, however, SMSD had issued a centralized directive to all

   building administrators, encouraging and directing them to prohibit students from

   discussing guns, gun control, and school shootings—the central topics of the planned

   protests — during the walkouts.

34. Specifically, according to SMSD spokesperson Shawna Samuel, the District

   “encouraged the students to keep the topic to school safety,” and steered students away

   from discussing guns. See Jay Senter, “Tensions mount over Shawnee Mission

   administration's move to censor, limit access to National School Walkout

   demonstrations,” SHAWNEE MISSION POST, April 23, 2018;

   https://shawneemissionpost.com/2018/04/23/tensions-mount-over-shawnee-mission-

   administrations-moves-to-censor-limit-access-to-national-school-walkout-

   demonstrations-70953.

35. SMSD adopted these guidelines, according to Samuel’s statements, because “[a]s a

   public institution, we cannot take a stand one way or the other on Second Amendment

   rights.” Id.

36. In other words, while making clear to students and parents that the event was not

   school-sponsored speech, Defendants nonetheless made behind-the-scenes plans to

   impose their own content-based restriction on the protests, out of an abstract desire to

   avoid controversy.




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37. Defendants apparently expected that, when the time for the protests arrived, students

   would follow SMSD’s directives for content of the speeches--and simply comply with

   the orders to use the district’s scripted, generic euphemisms such as “school safety” --

   instead of attempting to fully speak their minds.

                          Censorship occurring at protests

38. At Hocker Grove Middle School, students were allowed to begin their scheduled 17-

   minute protest, but an assistant principal, Alisha Gripp, began to interfere with

   students’ speeches after the second speaker cited a statistic that there had been 19

   school shootings in the previous year, and stated that “we would have more shooters

   who were women, queer, transgender, and people of color if bullying caused school

   shootings.”

39. Gripp informed students, “No shootings, no deaths. If you can’t comply with the rules,

   you’ll be removed.”

40. Upon information and belief, Gripp confiscated the written remarks of another

   scheduled speaker because they mentioned gun control.

41. Plaintiff M.C., an eighth-grade student at Hocker Grove, was the third scheduled

   speaker. She said two lines of her prepared speech, stating that “the school

   administration wants us to keep this about school violence and not about the real issue

   here. The real issue is gun violence,” before an administrator interrupted M.C. and

   ordered her to step down from the speaking platform. She complied without protest.

42. Gripp then abruptly declared an end to the event.

43. Because nine minutes remained in the planned 17-minute event, approximately 50

   students remained outside with the intention of continuing the planned program.



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            Gripp then directed the remaining students to disperse, pushing several students

            toward the school door.

       44. A number of Hocker Grove students were then either told that they had been

            suspended or had detention for participating in the walkout, including M.C., who was

            sent home for “being the most disruptive child in the school.”

       45. While Gripp was accosting students who were trying to continue their protest, students

            who were returning to class were not stopped from exercising speech rights unrelated

            to the walkout, including loudly yelling, “It’s Hitler’s birthday today,” and “Free Meek

            Mill!”1 According to witnesses, no administrator or teacher tried to censor these

            students’ statements, or aggressively told them to return to class.

       46. At Shawnee Mission North High School, students were permitted to hold a walkout

            program from 10 a.m. to 10:17 a.m on a designated location on school grounds.

            However, several days before the protests, administrators told students that they could

            not mention shootings or gun violence. The students who spoke during the school-

            permitted walkout time apparently complied with this request.

       47. More than 100 students, however, remained outside the school after the end of the

            school-permitted program to discuss the subjects the school would not allow them to

            speak about during the approved walkout: mass shootings and gun-policy reforms.

       48. Administrators generally permitted students to remain outside during the unsanctioned

            event, with the exception of student journalists. At the beginning of the unsanctioned

            walkout program, assistant principal Brock Wenciker expressly directed journalism

            students to return to the building.


1
  Meek Mill is a popular hip-hop artist who was recently freed from prison for parole violations related to drug and
firearms charges.

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49. Wenciker then approached S.W. and ordered her to hand over the camera she was

   using, which belongs to the District but was checked out to S.W. for the year to use in

   her role as a student journalist. Wenciker informed S.W. he believed he could

   rightfully confiscate the camera because it was school property.

50. On information and belief, Wenciker confiscated at least one other student’s camera

   during the unsanctioned protest.

51. During the unsanctioned program, students expressed a diversity of views and

   proposals on how to reduce gun violence. Some students, for example, advocated for a

   ban on assault rifles while others argued that schools should arm teachers and school

   staff.

52. S.W. stayed after school to get the camera back, at which point Wenciker returned it to

   her without explanation.

                       Events Subsequent to Protests

53. The censorship of the students by Shawnee Mission School District has caused a

   public outcry and has been reported in media outlets nationwide.

54. On April 23, 2018, Plaintiff G.A. spoke to the SMSD board and complained about the

   censorship activities that took place at her school. During this meeting, Defendant

   Kenneth Southwick issued a “personal apology” for unspecified actions, and pledged

   to fully review the incidents.

55. On April 26, 2018, the ACLU on behalf of several named Plaintiffs in this action, sent

   the School District a letter demanding that it commit to a proposed corrective action

   for each impacted student by Thursday, May 3, 2018.




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56. The district then issued another “apology” communication to parents issued on Friday,

   April 27.

57. Despite these repeat apologies, however, it has become clear based on the descriptions

   that are emerging of administrators’ one-on-one meetings or interviews with students,

   that the school district is more concerned about retroactively justifying its actions than

   it is with remedying its free-speech and free-press violations. Nor does the Shawnee

   Mission School District concede that its policies and actions were unconstitutional,

   either on their face or as applied to these students.

58. On or about May 2, 2018, Southwick met with S.W. as part of the District’s

   investigation. When S.W. expressed disappointment that she was unable to continue

   to document the walkouts after Wenciker confiscated her camera, Southwick

   dismissed her concerns and asked her why she did not use her iPhone.

59. Southwick also met with G.A. on or about May 2, 2018. He insisted that the law was

   “open to interpretation” and declined to acknowledge that Wenciker’s conduct violated

   students’ rights. Despite G.A.’s multiple attempts to discuss censorship, Southwick

   devoted the majority of his meeting with G.A. to inquire about the actions of students

   that he sought to characterize as disruptive, as well as the actions of a member of the

   press who attended the event.

60. On May 7, 2018, the ACLU sent a second letter on behalf of clients requesting

   documents, an expected date for a corrective action plan, and a commitment that future

   conversations would include specific apologies and an acknowledgment that students’

   rights were violated.




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      61. On that same date, Defendant Southwick addressed a special meeting of the Shawnee

          Mission School District Board to give them an update on his own investigation into

          the violations.

      62. Instead of acknowledging the seriousness of the violations of students’ free speech

          right, Southwick described his own ongoing, indefinite investigation as a chance to

          “first of all begin to look at what it was that we did right.”2

      63. Southwick then informed the board and the public that he would not be spending too

          much time on investigating this issue with graduation coming, and that his own

          investigation would “pick up after school is out.”

      64. Asked about any planned trainings for SMSD higher-ups on student First Amendment

          issues, Southwick responded that he had spoken to multiple SMSD attorneys and two

          outside agencies about doing a panel discussion “[be]cause as you can imagine, our

          attorneys make money on having varying opinions.” Southwick stated that he

          envisioned the panel as an opportunity “to discuss issues around student rights, but

          basically other issues as well that operate on a day to day basis,” and said he hoped to

          have this nebulous discussion at an upcoming administrators’ retreat if allowed to do

          so.

      65. While Southwick claimed that the Board would “accept” its mistakes “if and when” it

          is determined they made mistakes, he stated, “At the same time, more important than

          that, we’re going to move forward and make sure that in subsequent events we

          continue to keep students and staff safe, but we also, very importantly, maintain the

          integrity of the classroom time that we have. That’s our primary focus[.]”


2
 Southwick's remarks are available online at: https://www.youtube.com/watch?v=uU9ngmNYfeg (last
visited May 31, 2018), beginning at the 37:49 mark.

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66. With these remarks, Southwick confirmed that the focus of his investigation will be

   specifically on matters other than ensuring that students’ free-speech rights are

   protected in the future, while practically inviting the Court to issue the relief sought by

   Plaintiffs in this action.

                                CAUSES OF ACTION

                         Allegations Common to All Counts

67. Plaintiffs re-incorporate and re-allege the preceding paragraphs 1-66 of this Petition.

68. Defendants’ actions violated clearly established First Amendment norms including the

   prohibitions on content-based and viewpoint-based discrimination, and violated

   Plaintiffs’ clearly established rights to free speech and freedom of the press regarding

   matters of social and political debate.

69. In particular, the allowance of a protest where it was acceptable for students to

   advocate about generic, non-specific school-safety measures not involving discussion

   of guns or gun control, but unacceptable to take a position that did involve talk of guns

   or gun control, is a content-based restriction of speech in violation of the First

   Amendment.

70. The student speech at issue in this action was pure political speech, intended to foster

   debate about a serious social and political issue of national significance. The contents

   of the students’ remarks were to be their own individual views and did not constitute

   school-sponsored speech bearing the school’s imprimatur.

71. There was no legitimate pedagogical interest in restricting students from discussing a

   topic of central political debate in the United States.




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     72. The students’ deviation from the administration’s pre-approved scripts to mention

        terms such as “gun violence” did not, in and of itself, materially and substantially

        disrupt the work and discipline of the school.

     73. Rather, the District’s censorship stemmed from the District’s wish to avoid

        controversy and discomfort.

  74. The District’s actions were deliberate and calculated, and done pursuant to an official

      school district policy or custom, as confirmed by statements made by District officials to

      the news media.

      COUNT I: UNLAWFUL VIOLATION OF FIRST AMENDMENT RIGHTS
                     (Prior Restraint and Retaliation)

Against All Defendants for Unlawful Violation of Freedom of Speech and Freedom of the Press
            Guaranteed by the U.S. Constitution, First and Fourteenth Amendments

     75. Plaintiffs reincorporate and re-allege the preceding paragraphs 1-74 of this Petition.

     76. The United States Constitution protects Plaintiffs against content-based censorship of

        speech and press.

     77. The Shawnee Mission School District’s multi-site policy of censoring the content of

        student speech at a non-school sponsored event in order to avoid controversy is

        unconstitutional on its face as a content-based restriction on speech in violation of the

        right to free speech guaranteed by the First and Fourteenth Amendments to the U.S.

        Constitution.

     78. These same policies are unconstitutional as applied to each of the named Plaintiffs in

        this action, in that Defendants directly restrained the Plaintiffs from engaging in or

        documenting political speech; chilled them from engaging in protected speech and




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        press activity in the future; violated their rights to hear the messages of others; and

        retaliated against them for attempting to exercise their First Amendment rights.

     79. Defendant Southwick, acting under the color of law, unconstitutionally and

        deliberately banned students from discussing guns, gun violence, and school shootings

        while permitting students’ discussion of “school safety” and other politically neutral

        topics during the April 20th walkouts.

     80. Defendant Southwick’s actions following the protests have only confirmed the need

        for injunctive and declaratory relief to remedy ongoing, irreparable harm to students’

        First Amendment rights.

     81. The threat of injury to students’ First Amendment rights heavily outweighs any harm

        that an injunction would cause to Defendants, and injunctive relief is in the public

        interest.

     82. Plaintiffs have suffered, and continue to suffer, damages as a result of Defendants’

        actions.

                             COUNT II: MUNICIPAL LIABILITY

Unlawful Prior Restraint and Retaliation in Violation of 42 U.S.C. § 1983 Pursuant to District
                                      Custom or Policy


     83. Plaintiffs reincorporate and re-allege the preceding paragraphs 1-82 of this Petition.

     84. Defendant SMSD, through its own actions including its policy and custom of

        restricting the content of students’ political speech, its actions through authorized

        policymakers, its ratification of the actions of others, and its failure to train employees

        on or implement a policy protecting students’ First Amendment Rights, violated and

        exhibited deliberate indifference to Plaintiffs’ clearly established constitutional rights.



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85. Defendant Southwick through his actions violated and exhibited deliberate

   indifference to Plaintiffs’ clearly established constitutional rights.

86. Defendants have taken no meaningful corrective action to address the censorship

   Plaintiffs endured. While they have offered vague apologies and general promises that

   they will “look into the situation,” Defendants have failed to propose a corrective

   action plan.

87. At the time of the above-described incident, Defendants had a general custom of

   suppressing speech rights and an express policy of censoring students from speaking

   about certain political topics so as to avoid controversy.

88. The violation of Plaintiffs’ free-speech and free-press rights was done under color of

   law, pursuant to a deliberate custom or policy of the Shawnee Mission School District.

89. As a direct and proximate result of Defendants’ actions, Plaintiffs have suffered and

   continue to suffer damages.

       COUNT III: VIOLATION OF STUDENT PUBLICATIONS ACT

 Unlawful Suppression of Student Publication Because of Political Subject Matter
                       in Violation of K.S.A. 72-7211(a)


90. Plaintiffs reincorporate and re-allege the preceding paragraphs 1-89 of this Petition.

91. K.S.A. 72-7211(a), the Kansas Student Publications Act (the “Act”), provides that

   “The liberty of the press in student publications shall be protected,” and that “Material

   shall not be suppressed solely because it involves political or controversial subject

   matter.”

92. The confiscation of Plaintiff S.W.’s camera by Defendants’ agent amounts to an

   attempt to suppress material – namely, the images that S.W. was attempting to gather



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         through her photojournalism efforts– solely because of the political or controversial

         subject matter of their subject matter.

      93. S.W. and similarly situated students have suffered, and continue to suffer, irreparable

         harm and damages as a result of Defendants’ violation of the Act, and have been

         chilled from exercising in activities protected by the Act.

      94. The threat of injury to students such as S.W. heavily outweighs any harm to

         Defendants that would result from an injunction, and an injunction is in the public

         interest.

                                          PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray that this Court:

              A. Enter judgment in favor of Plaintiffs and against Defendants, adjudging

                     Defendants’ policies and actions to be both facially unconstitutional and

                     unconstitutional as applied to Plaintiffs, and holding Defendants liable to

                     Plaintiffs;

              B. Enter a declaratory judgment in Plaintiffs’ favor, adjudging that, by

                     prohibiting students from engaging in or documenting speech about gun

                     violence, Defendants violated plaintiffs’ First Amendment rights to speech

                     and press, as well as plaintiffs’ rights under the Kansas Student Publications

                     Act;

              C. Issue an injunction requiring Defendant SMSD to develop and implement

                     adequate training programs for administrators and teachers about student’s

                     free-speech and free-press rights;




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      D. Enjoin Defendants from violating student First Amendment rights by

         restricting the content of students’ political speech at non-school-sponsored

         events;

      E. Enjoin Defendants from confiscating the tools of student journalists or

         targeting them for removal from a school event;

      F. Enjoin Defendants from retaliating against or disciplining students for the

         exercise of their protected free-speech and free-press rights;

      G. Award Plaintiffs their money damages to the fullest extent compensable by

         law;

      H. Award Plaintiffs reasonable attorneys’ fees and costs pursuant to 42 U.S.C.

         §1988; and

      I. Allow such other and further relief as the Court deems just and proper.




                                    Respectfully submitted,



                                    By: /s/ Lauren Bonds
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